          Case 7:21-cv-02777-VB Document 17 Filed 06/18/21 Page 1 of 3
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                                        June 18, 2021

VIA CM/ECF

Honorable Vincent L. Briccetti
United States District Judge
United States District Court for the Southern District of New York
300 Quarropas Street, Room 630
White Plains NY 10601

              RE: Charon Coins, LLC v. Sonea Griffiths
                  Case No. 7:21-cv-2777
                  Request for Telephone Conference

Honorable Judge Briccetti,

      On behalf of the Plaintiff, Charon Coins, LLC (“Charon”), I respectfully request
Your Honor schedule a status conference to discuss pending motions and Defendant
Sonea Griffiths’ answer, filed pro se.

       This case arises out of Plaintiff’s selling $258,000 of Bitcoin to Ms. Griffiths.
Although she initially made payment, Charon’s bank, BMO Harris, N.A. (“BMO”)
claimed to have received a “fraud affidavit.” As a result, BMO froze Charon’s account
and returned the purchase money to Ms. Griffiths. Ms. Griffiths admitted having
received the Bitcoin, but has failed to repay the purchase price.

       Charon has a pending Motion to Attach Ms. Griffiths’ bank account or for an
injunction ordering her to return the Bitcoin. While that motion was pending, Ms.
Griffiths filed an answer that does not deny any of the elements of Charon’s claims.
Instead, she states her bank account at TD Bank is already frozen. Under the
circumstances, Charon requests the Court hold a status conference in order to
determine whether the purchase money remains in Ms. Griffiths’ account, why TD
Bank has frozen the account, and what relief is appropriate and available to Charon.



    Admitted in D.C. and N.Y. only
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                                                       Hon. Vincent L. Briccetti
                                                                 June 18, 2021
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We are emailing and mailing a copy of this motion to Ms. Griffiths.
                                       Respectfully submitted,
                                       /s/
                                       Evgenia V. Sorokina
                                       N.Y. Bar No. 4607479
                                       Counsel to Plaintiff Charon Coins, LLC
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                            CERTIFICATE OF SERVICE

       I certify that I caused a true and correct copy of this letter to be sent by electronic
and first class mail to the Defendant, Sonea Griffiths.

       Sonea Griffiths
       151 Park Avenue
       Mt. Vernon, NY 10550
       Soneasing@gmail.com

June 18, 2021                                     /s/ Evgenia V. Sorokina
                                                  Evgenia V. Sorokina
